Case 9:21-cr-80166-RAR Document 39 Entered on FLSD Docket 07/01/2022 Page 1 of 4




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 21-CR-80166-RUIZ


  UNITED STATES OF AMERICA,
             Plaintiff,
  v.

  TIFFANY CANDOFF,
              Defendant.
  ____________________________/

                       DEFENDANT CANDOFF’S AMENDED
            OBJECTIONS TO THE PRESENTENCE INVESTIGATION REPORT

         The parties conferred regarding facts and arguments contained in Ms. Candoff’s PSR

  Objections [ECF No. 36]. Counsel determined that it was necessary to clarify certain facts and

  remove unnecessary arguments relating to Ms. Candoff’s role in the offense. Pursuant to Federal

  Rules of Criminal Procedure Rule 32(f), Defendant Tiffany Candoff amends her objections to the

  Presentence Investigation Report (“PSR”) [ECF Nos. 33, 38].

                                         Factual Objections

         Counsel for Ms. Candoff discussed all factual objections with Senior United States

  Probation Officer Hill. All of Ms. Candoff’s factual objections have been resolved.

                   Objection Requesting Downward Adjustment for Mitigating Role

         Ms. Candoff respectfully objects to PSR paragraph 38 which recommends that no

  adjustment for role should be applied in this case. There were several other participants in the

  charged criminal activity and Ms. Candoff was a minor participant when compared to most other

  participants. The other participants include: the narcotics manufacturer; the person who supplied

  the narcotics to Ms. Candoff; and the ultimate purchaser of the narcotics in Melbourne, Florida

  who intended to further distribute the narcotics as part of the Drug Trafficking Organization.

                                                  1
Case 9:21-cr-80166-RAR Document 39 Entered on FLSD Docket 07/01/2022 Page 2 of 4




         The Guidelines define “participant” in the commentary to USSG § 3B1.1 as “a person

  who is criminally responsible for the commission of the offense, but need not have been

  convicted. A person who is not criminally responsible for the commission of the offense (e.g.,

  an undercover law enforcement officer) is not a participant.” USSG § 3B1.1, cmt. n.1. The

  Eleventh Circuit relies on this note to define “participant.” United States v. Zada, 706 F. App'x

  500, 509 (11th Cir. 2017) (quoting U.S.S.G. § 3B1.1, cmt.. n.1); United States v. Duperval, 777

  F.3d 1324, 1336 (11th Cir. 2015). In U.S. v. Anthony, the Sixth Circuit stated that, “[C]ourts

  ‘uniformly count’ as participants those who ‘were (i) aware of the criminal objective, and (ii)

  knowingly offered their assistance.’” U.S. v. Anthony, 280 F.3d 694, 698 (6th Cir. 2002).

         The government is aware of other participants including the individual that supplied and

  shipped the narcotics from California to Florida based, in part, on the statements of several other

  persons.

         Ms. Candoff seeks a two level decrease pursuant to USSG § 3B1.2(b) as Ms. Candoff

  was substantially less culpable than the average participant in this offense involving Subject

  Parcel 1 and Subject Parcel 2 discussed in the revised PSR paragraphs 7-10. There is no

  evidence that either the manufacturer, supplier, or the ultimate purchaser of the narcotics has

  been prosecuted.    Ms. Candoff coordinated to receive Subject Parcel 1, the cocaine, at her

  AirBnB and further transport it via Lyft to the ultimate purchaser of the narcotics - an individual

  in Melbourne, Florida.

         Ms. Candoff never took possession of the methamphetamine contained in Subject Parcel

  2. Presumably she would have fulfilled the same function with regard to the methamphetamine

  by shipping it to her customer in Melbourne. Ms. Candoff’s customer in Melbourne had no

  direct connection to her supplier.



                                                  2
Case 9:21-cr-80166-RAR Document 39 Entered on FLSD Docket 07/01/2022 Page 3 of 4




            Ms. Candoff’s limited role is contemplated by the Guidelines. Application Note 3(A)

  states that, “[F]or example, a defendant who is convicted of a drug trafficking offense, whose

  participation in that offense was limited to transporting or storing drugs and who is accountable

  under § 1B1.3 only for the quantity of drugs the defendant personally transported or stored may

  receive an adjustment under this guideline.” USSG § 3B1.2, appl. n.3(A). Ms. Candoff is being

  held accountable for only the quantity of drugs that she personally transported or stored related

  to Subject Parcels 1 and 2.       Ms. Candoff's role was limited and while her role cannot be

  described as minimal, she is less culpable than most other participants.1

             Ms. Candoff respectfully requests that this Honorable Court grant her a minor role

  pursuant to USSG § 3B1.2. If this Honorable Court determines that Ms. Candoff qualifies for a

  minor role pursuant to USSG § 3B1.2 then her offense level is lowered by two levels. USSG §

  2D1.1(a)(5) would then operate to lower Ms. Candoff’s offense level by an additional 3 levels.

  Ms. Candoff’s total offense level would be 26 with a Criminal History Category I leading to a

  Guidelines range of between 63 and 78 months’ imprisonment.

                                         Respectfully submitted,

                                         s/ Robert W. Stickney
                                         Robert W. Stickney / Fla. Bar No. 883130
                                         Counsel for Defendant
                                         100 S.E. 3rd Avenue, Suite 2210
                                         Fort Lauderdale, Florida 33394
                                         Ph: (954) 767-8908
                                         E-mail: rws@stickneylaw.com


                                        CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically

  filed by CM/ECF this 1st day of July 2022.


  1
      Prior to February 2021, Ms. Candoff would sometimes ship narcotics from California to herself.
                                                   3
Case 9:21-cr-80166-RAR Document 39 Entered on FLSD Docket 07/01/2022 Page 4 of 4




                               Respectfully submitted,

                               s/ Robert W. Stickney
                               Robert W. Stickney / Fla. Bar No. 883130
                               Counsel for Defendant
                               100 S.E. 3rd Avenue, Suite 2210
                               Fort Lauderdale, Florida 33394
                               Ph: (954) 767-8908
                               E-mail: rws@stickneylaw.com




                                         4
